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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

JACKSONVILLE BRANCH OF THE
NAACP; NORTHSIDE COALITION
OF JACKSONVILLE, INC.; ACLU OF
FLORIDA NORTHEAST CHAPTER;
FLORIDA RISING TOGETHER, INC.;
MARCELLA WASHINGTON;
INGRID MONTGOMERY; AYESHA
FRANKLIN; TIFFANIE ROBERTS;
ROSEMARY McCOY; SHELIA
SINGLETON; EUNICE BARNUM;
JANINE WILLIAMS; HARAKA
CARSWELL; and DENNIS BARNUM

      Plaintiffs,                          Case No.: 3:22-cv-493-MMH-LLL

v.

CITY OF JACKSONVILLE and
MIKE HOGAN, in his official capacity
as Duval County Supervisor of Elections,

      Defendants.
_______________________________/

               DEFENDANTS’ DISCLOSURE STATEMENT
      Defendants, the City of Jacksonville and Mike Hogan, in his official

capacity as the Duval County Supervisor of Elections, pursuant to Local Rule

3.03(a) hereby disclose the following:

      1) each person — including each lawyer, association, firm, partnership,

corporation, limited liability company, subsidiary, conglomerate, affiliate,
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member, and other identifiable and related legal entity — that has or might

have an interest in the outcome:

Nicholas Warren, Esq.
Daniel B. Tilley, Esq.
ACLU Foundation of Florida, Inc.
Daniel Hessel, Esq.
Theresa J. Lee, Esq.
Nicholas Stephanopoulos, Esq.
Election Law Clinic
Harvard Law School
Krista Dolan, Esq.
Bradley E. Heard, Esq.
Jack Genberg, Esq.
Southern Poverty Law Center
Jacksonville Branch of the NAACP
Northside Coalition of Jacksonville, Inc.
ACLU of Florida Northeast Chapter
Florida Rising Together, Inc.
Marcella Washington
Ingrid Montgomery
Ayesha Franklin
Tiffanie Roberts
Rosemary McCoy
Shelia Singleton
Eunice Barnum
Janine Williams
Haraka Carswell
Dennis Barnum

Mary Margaret Giannini, Esq.
Sonya Harrell, Esq.
Helen Peacock Roberson, Esq.
Office of General Counsel, City of Jacksonville
City of Jacksonville
Jacksonville City Council
Duval County Supervisor of Elections Office
Mike Hogan, Duval County Supervisor of Elections



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      2) each entity with publicly traded shares or debt potentially affected by

the outcome:

N/A

      3) each additional entity likely to actively participate, including in a

bankruptcy proceeding the debtor and each member of the creditor’s

committee:

N/A

      4) each person arguably eligible for restitution:

N/A


                 LOCAL RULE 3.03(B) CERTIFICATION

       I certify that, except as disclosed, I am unaware of an actual or potential
conflict of interest affecting the district judge or the magistrate judge in this
action, and I will immediately notify the judge in writing within fourteen days
after I know of a conflict.




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Dated this 2nd day of June, 2022.

                                    OFFICE OF GENERAL COUNSEL
                                    CITY OF JACKSONVILLE

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                                    Attorneys for Defendants, City of
                                    Jacksonville and Mike Hogan, in his
                                    official capacity as Duval County
                                    Supervisor of Elections



                          CERTIFICATE OF SERVICE
     I HEREBY CERTIFY that on this 2nd day of June, 2022 a copy of this
document was filed electronically through the CM/ECF system and furnished
by email to all counsel of record.
                                          /s/ Helen Peacock Roberson
                                              Attorney




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